Case 8:13-cv-01528-GAF-JC Document 31 Filed 10/21/14 Page 1 of 2 Page ID #:139




   1   Gregory Gorski (admitted pro hac vice)
       FRANCIS & MAILMAN, P.C.
   2   Land Title Building, 19th Floor
   3   100 South Broad Street
       Philadelphia, PA 19110
   4   Telephone: (215) 735-8600
   5   Facsimile: (215) 940-8000
       ggorski@consumerlawfirm.com
   6
       Attorney for Plaintiff Teresa Turley
   7
   8                       UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA
   9
  10
        TERESA TURLEY                              Civil Action No. SACV 13-1528 GAF
  11                                               (JCx)
  12                    Plaintiff,
  13                                               STIPULATION OF DISMISSAL
        v.
  14
  15    EXPERIAN INFORMATION
        SOLUTIONS, INC. AND
  16    ADVANTAGE CREDIT
  17    BUREAU, INC.
  18                    Defendants.
  19
  20
  21
  22         IT IS HEREBY STIPULATED AND AGREED, on this 21st day of October,
  23   2014, by and between Plaintiff and Defendant Experian Information Solutions, Inc.
  24   that pursuant to Fed. R. Civ. P. 41, this action be dismissed with prejudice, with each
  25
       party to bear her or its own attorney’s fees, costs and expenses incurred.
  26
  27
                                                 1
                                     STIPULATION OF DISMISSAL
Case 8:13-cv-01528-GAF-JC Document 31 Filed 10/21/14 Page 2 of 2 Page ID #:140




       /s/ Gregory Gorski                     /s/ Katherine A. Klimkowski_____
   1   GREGORY GORSKI                         KATHERINE A. KLIMKOWSKI
       FRANCIS & MAILMAN,           P.C.      JONES DAY
   2   Land Title Building, 19th Floor        3161 Michelson Dr., Suite 800
       100 South Broad Street                 Irvine, CA 92612
   3   Philadelphia, PA 19110                 949-851-3939 (Telephone)
       215-735-8600 (Telephone)               949-553-7539 (Fax)
   4   215-940-8000 (Fax)                     kaklimkowski@jonesday.com
       ggorski@consumerlawfirm.com
   5                                          Attorneys for Defendant
       Attorneys for Plaintiff                Experian Information Solutions, Inc.
   6
   7
   8
   9
  10
  11
  12
  13
  14
  15
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25
  26
  27
                                              2
                                   STIPULATION OF DISMISSAL
